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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11    SYLVESTER OWINO and JONATHAN                         Case No.: 17-CV-1112 JLS (NLS)
      GOMEZ, on behalf of themselves and all
12
      others similarly situated,                           ORDER REQUESTING
13                                       Plaintiffs,       SUPPLEMENTAL REPLY BRIEF
                                                           FROM PLAINTIFFS
14    v.
15                                                         (ECF Nos. 154, 164)
      CORECIVIC, INC., a Maryland
16    corporation,
17                                      Defendant.
18
19          Presently before the Court is Plaintiffs Sylvester Owino and Jonathan Gomez’s
20    Motion for Class Certification (ECF No. 84), on which the Court ordered additional
21    briefing following the hearing on December 19, 2019. See ECF No. 154. Having reviewed
22    the Parties supplemental briefing, see ECF Nos. 160, 164, the Court is troubled by
23    Defendant CoreCivic, Inc.’s argument that the last day Mr. Owino participated in the
24    Voluntary Work Program was May 23, 2013, thereby rendering Mr. Owino’s Unfair
25    Competition Law claim barred by the four-year statute of limitations, see ECF No. 164 at
26    2 & n.2, particularly given that Plaintiffs were not permitted leave to file a reply.
27          Accordingly, Plaintiffs MAY FILE a reply to Defendant’s Supplemental Brief re:
28    Novoa Class Certification Order (ECF No. 164) addressing the timeliness of Mr. Owino’s

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                                                                                  17-CV-1112 JLS (NLS)
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 1    claims, on or before March 9, 2020. The optional, supplemental reply SHALL NOT
 2    EXCEED five (5) pages.
 3          IT IS SO ORDERED.
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 5    Dated: February 28, 2020
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